UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
EASTERN DIVISION SOUTHERN DISTRICT OF MISSISSIPPI

Latasha Hill, JUL 152025
Plainti
aintiff ARTHUR sonnston
BY DEPUTY
Vv.

AUTO CLUB FAMILY INSURANCE COMPANY,
Defendant.

Case No.: 2:24-ev-00107-KS-BWR
Date: July 15, 2025

MOTION FOR DISQUALIFICATION OF DISTRICT JUDGE KEITH STARRETT |
UNDER 28 U.S.C. § 144 and 28 U.S.C. § 455

Notice to the court:
TO THE CHIEF JUDGE OF THIS DISTRICT, ALL PARTIES, AND LEAD

ATTORNEY:

COMES NOW Latasha Hill, of sound mind and natural-born free woman of the land created by

God, proceeding sui juris and propria persona. I am non-belligerent, non-combatant, non-

government employee, non-employee of THE UNITED STATES INC. I reiniterate I did not |

attend any school of law. I am not well versed in the law nor legal procedures. I am not licensed
|

to practice law. I proceed propria persona evoking my rights under Common Law under the

unalienable rights of the Constitution of the united states of America. Let it be known on public’

record I DO NOT waive any rights, remedies, or defenses; procedural or statutory. I only consent

to natural law and not artificial law. I come in good faith and with clean hands. I, Latasha Hill, |
|

|
demand judicial neutrality under the Constitution's Due Process Clause. I submit this Motion for,

having full faith and credit guaranteed by the Constitution of the united states of America. I

Disqualification of District Judge Keith Starrett for Good Cause.

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***Fxhibits enclosed to Memorandum

I, LEGAL GROUNDS FOR DISQUALIFICATION

A. Mandatory Recusal Under 28 U.S.C. § 144
1, Berger v. United States, 255 U.S. 22 (1921): |
|
|
sufficient affidavit that the judge before whom the matter is pending has a personal bias or |

“Whenever a party to any proceeding in a district court makes and files a timely and

|
prejudice either against him or in favor of any adverse party, such judge shall proceed no

further therein."

2. United States v. Sibla, 624 F.2d 864 (9th Cir. 1980):
"Once a proper affidavit is filed under Section 144, the judge must recuse, and the matter
must be referred to another judge."

B. Constitutional] Violations Under 28 U.S.C. § 455(a)

1. Liteky v. United States, 510 U.S. 540 (1994):

Disqualification is required when a judge exhibits "such a high degree of favoritism or

antagonism as to make fair judgment impossible”. Appearance of impropriety.

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Caperton y. A.T. Massey Coal Co., 556 U.S. 868 (2009):
Recusal is constitutionally mandated where "the probability of actual bias is too high to be
|

constitutionally tolerable."

3. Fifth Amendment Due Process Clause.

4. Code of Conduct for U.S. Judges Canon 3(C)(1).

If. FACTUAL BACKGROUND

1. Ex Parte Communications

e On May 02, 2025, Magistrate Judge Bradley W. Rath held a teleconference with defense |
counsel Priscilla Williams and my former attorney Paul Anderson, who abandoned my case.
I was unaware of this teleconference until I saw the minute entry on the docket. May 1, 2025
Attorney Anderson filed a motion to voluntarily withdraw. May 2, 2025, I filed notice of Pro
Se representation. |

2. Evidence Suppression

e Judge Starrett ignored wind reports despite NOAA data proving storm damage.

¢ Willful ignorance of forged insurance policy.

3. Alleged Judicial Retaliation

On May 2, 2025 Attorney Paul Anderson voluntarily withdrew because I refused to accept an
|

unjust unfair settlement offer in which he was getting a excessive 45% contingency fee.

Therefore I filed motions which were later stricken from the record. Plaintiff agreed to allow
|

counsels of record to withdraw because plaintiff did not want to be represented by counsel |

that voluntarily withdrew and did not want to represent plaintiff to the fullest. The Motion to
|

Withdraw was granted May 22, 2025 and plaintiff was unaware that she had to wait until the

motion was granted before she filed documents.

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e From May 1, 2025 to May 22, 2025, Plaintiff Latasha Hill was unaware that she should not
file any documents on her case until the withdrawal was granted. On the following dates:
May 2 2025, May 8 2025, May 12 2025, and May 21, 2025 minute entries and text orders
were made to the docket and there were never any indications made for me to not file any
documents until my attorney’s withdrawal was granted. As previously stated in my filing on
May 5, 2025(Doc. 35) “I did not attend any school of law. I am not well versed in the law nor

|
legal procedures. I am not licensed to practice law”. Four times I could have been instructed

to not file but I was not.

4. Racial Bias

e Asa multi-racial woman and propria persona litigant, I have been held to higher pleading

standards than the corporate defendant.
I. LEGAL ARGUMENT |
A. Judicial Bias Under 28 U.S.C. § 144
¢ United States v. Ritter, 540 F.2d 459 (10th Cir. 1976):

"A judge who does not disqualify himself after a proper affidavit has been filed acts without
|

« Ward v. Village of Monroeville, 409 U.S. 57 (1972):

jurisdiction,"

B. Due Process Violations Under 28 U.S.C. § 455(a)

“A fair trial in a fair tribunal is a basic requirement of due process." |

IV. DEMANDED RELIEF
1. Immediate disqualification of Judge Starrett.

2. Mandatory judicial reassignment to a neutral judge outside this district. |

3. Sanctions against defense counsel for fraud on the court.

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4. Immediate stay of all proceedings until Fifth Circuit Judicial Council submit a docket order.

5. Misconduct investigation

V. CONCLUSION

This Court must act to preserve the integrity of the judiciary.

I, Latasha Hill, proceeds In Good Faith, Without Dishonor, and Reserves All Rights under UCC

1-308, Without Prejudice.

Respectfully submitted July 15, 2025, 3
Cede Wie

Latasha Hill

Propria Persona

Sui Juris

Without Prejudice

UCC 1-308

Notary Witness and Acknowledgement
United States of America }
State of Mississippi } $.a.

County of tore est_ }

Today before me, a Commissioned Notary, is the living, flesh and blood, and natural woman
known to be Latasha Hill and she did issue this Formal Motion for Disqyalification and she also
affirmed her testimony as shown before me this 1S day of 2 uty in the year
2025, in Witness whereof I set my Signature and Seal: l

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Public Notary'Printed Name Public Nofaty Signature

Sly tS)2025 —_,coeliss, = S y 29, Zozs

Date

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: TAMMY HOLMES } Latasha Hill
* %.Commission Expires, * 8 Annie Christie Drive
SO Sly 28, 2025 Hattiesburg, MS 39401

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latashahill30047@yahoo.com
601-202-3262
Case: 2:24-cv-00107-KS-BWR

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CERTIFICATE OF SERVICE

Pursuant to 28 U.S.C. § 144, 28 U.S.C. § 455 Motion for Disqualification of District Judge
Starrett. This letter serves as formal notice of Plaintiff's Motion for Disqualification of District
Judge Starrett for violations and Notice to The Court. I, Latasha Hill, certify that on July 15,
2025, I will serve this Motion To Compel, on Priscilla K. Williams via email
pkwilliams@csattorneys.com and pkw@csattorneys.com.

Method of service: [X] Email

Priscilla K. Williams
CHRISTIAN & SMALL, LLP
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205-795-6588 ot,
pkwilliams@csattorneys.com tina bey LLY
By:__/s/ Latasha Hill
Latasha Hill
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Sui Juris

Latasha Hill

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Hattiesburg, Mississippi 39401

Civil Action No. 2:24-cv-107-KS-BWR
601-202-3262
